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                     UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                Eastern Division

Adrienne Gray
                                    Plaintiff,
v.                                                    Case No.: 1:16−cv−08734
                                                      Honorable Thomas M. Durkin
Governors State University
                                    Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, October 26, 2017:


       MINUTE entry before the Honorable Jeffrey T. Gilbert: Settlement conference
held on 10/26/17. The parties resolved the case. The parties executed a Consent to
Exercise of Jurisdiction by a United States Magistrate Judge. Status hearing set for
12/14/17 at 10:00 a.m. If a stipulation to dismiss is filed prior to 12/14/17, the status
hearing will be stricken with no appearance required. Mailed notice (ber, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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